               Case 5:16-cr-50012-TLB
AO 245 8 ( Rev. 11/ 16)
                    Judgment in a Crimina l Case
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                           Sheet 1




                                           UNITED S TATES D ISTRICT COURT
                                                            Western District of Arkansas
                                                                          )
                UNITED ST ATES OF AMERICA                                 )     JUDGMENT IN A CRIMINAL CASE
                                     v.                                   )
                                                                            )
                                                                            )          Case Number:            5: 16CR5001 2-002
                          BRYANNA ALMANZA                                   )          U SM Number:            14229-010
                                                                            )
                                                                            )          Zoe E lizabeth Naylor
                                                                            )          Defendant' s Attorney
THE DEFENDANT :
X pleaded guilty to count(s)          One ( I) of the Indictment June 30, 20 16.

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was fo und guilty on co unt(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                             Offense Ended         Count
2 1 U.S.C. §§ 84 1(a)( I)            Conspiracy to Di tribute Methamphetamine                                       03/ 12/20 16            I
and 846




       T he defendant is sentenced as provided in pages 2 through                  7          of this judgment. The sentence is imposed pursuant to
the Sentenc ing Reform Act of 1984.
D The defendant has been fo und not guilty on count(s)

X Count(s)        Forfe iture Allegation                  X    is   D are dismissed on the motion of the U nited States.

          It is ordered that the defendant must noti fy the Un ited States attorney fo r this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are full y paid . If ordered to
pay restitution, the defendant must noti fy the court and United States attorney of material changes in econo mic circ     tances.




                                                                           Honorable Timoth y L. Broo ks, United States District Judge
                                                                           Name and T itl e o f Judge



                                                                             tJtNe,¥.k I ~ io II,
                                                                           Date                                f
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                        Sheet 2 - lmprison melll

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                                                           IMPRISONMENT
          T he defendant is hereby committed to the custody of the Federal Bureau of Pri ons to be imprisoned fo r a
 total term of:      thirty-eight (38) months.




      X    The court makes the fo llowing recommendations to the Bureau of Prisons:
           That the defendant be strongly encouraged by all means ava ilable to pursue and complete her GED.
           That the defendant be pl aced in a BOP faci li ty con sistent with the defendant' s class ification and be placed into the RD AP
           progra m. The Co urt asks that spec ial note be made of the remaining amount of time the defendant has left to serve and that the
           defendant be prioritized and be placed in the RDAP program as quickly as possible.

      X    The defendant is remanded to the custody of the United States Marshal.

      D The defendant sha ll surrender to the United States Marshal for this district:
        D at                                  D a.m. Dp.m. on
        D as notified by the United States Marshal.
      D The defendant shall surrender fo r service of sentence at the institution designated by the Bureau of Prisons:
        D before 2 p.m. on
        D as notified by the United State Marshal.
        D as notified by the Probation or Pretrial Services Office.
                                                                 RETURN
 I have executed thi s judgment as fo llow :




          Defendant deli vered on                                                       to

 at                                                , with a certified copy of this judgment.



                                                                                                  U !TED STATES MARS HAL



                                                                         By
                                                                                               DEPUTY U !TED STATES MARS HAL
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                      Sheet 3 -    Supervi ed Release

                                                                                                           Judgment- Page     3    of         7
 DEFENDANT:                       BRYANNA ALMANZA
 CASE NUMBER:                     5: l 6CR50012-002

                                                         SUPERVISED RELEASE
 Upon re lease fro m imprisonment, yo u will be on supervised release fo r a tem1 of:      three (3) years.



                                                        MANDATORY CONDITIONS

 I.    You must not commit another federa l, state or loca l crime.
 2.    You must not unlawfu lly possess a contro lled ubstance.
 3.    You must refra in fro m any unlawful use of a contro lled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D   T he above drug te ting condition is suspended, based on the court's detem1ination that yo u
                   pose a low ri sk of future substance abuse. (check if applicable)
 4.     X You must cooperate in the co llection of DNA as directed by the probation officer. (check if applicable)
 5.     D    You must compl y with the requirements of the Sex Offe nder Registration and Notification Act (42 U.S .C. § 1690 1, et seq.) as
             directed by the probation officer, the B ureau of Prisons, or an y state sex offender registrati on agency in the location where yo u
             re ide, work, are a student, or were convicted of a qua lifying offense. (check if applicable)
 6.     D    You must participate in an approved progra m fo r do mestic vio lence. (check if applicable)



 You must comply with the standard condition that have been adopted by this court as well as with any other conditions on the attached
 page.
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                         Sheet 3A -   Supervised Rel ease

                                                                                                 Judgment- Page         4       of          7
DEFENDANT:                       BRYANNA ALMANZA
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                                           ST AND ARD CONDITIONS OF SUPERVISION
As part of yo ur supervised release, yo u must comp ly with the fo llowing standard conditions of supervision. These co nditions are imposed
because they establi h the basic expectati ons fo r yo ur behavior while on supervision and identi fy the minimum too ls needed by probation
officers to keep info rmed, report to the court about, and bring about improve ments in yo ur conduct and condition.

I.    You must report to the probation office in the federa l judicial district where yo u are authori zed to re ide within 72 hours of yo ur
      release from imprisonment, unless the probation offi cer instructs yo u to report to a different probati on office or within a different
      time fra me.
2.    After initi ally reporting to the probation offi ce, yo u will receive instructions fro m the court or the probation officer about how and
      when yo u must report to the probation offi cer, and yo u must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pennis ion from
      the court or the pro bation officer.
4.    You must answer truthfully the questions asked by yo ur probation offi cer.
5.    You must li ve at a place approved by the pro bation officer. If yo u plan to change where yo u live or anything about your living
      arrangements (such as the people yo u live with), yo u must notify the probation officer at least I 0 days before the change. If notifying
      the probation offi cer in advance is not possible due to unanticipated circumstances, yo u must notify the probation officer within 72
      hours of beco ming aware of a change or expected change.
6.    You must allow the probation offi cer to visit yo u at any time at yo ur home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of yo ur supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawfu l type of employment, unless the probation officer excuses you fro m
      doing so. If yo u do not have full -time employment yo u must try to find full -time employment, unless the probation officer excuses
      yo u from doing so. If you plan to change where you work or anything about your work (such as yo ur position or your j ob
      responsibilities), yo u must notify the probation officer at lea t I 0 days before the change. If notifying the probation offi cer at least L0
      days in advance is not possible due to unanticipated circ umstances, yo u must noti fy the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You mu t not communicate or interact with so meone yo u know is engaged in criminal activity. If yo u know omeone ha been
      convicted of a fe lony, you must not knowing ly conrnmnicate or interact with that person without first getting the permi ion of the
      pro bation officer.
9.    If yo u are arrested or questioned by a law enfo rcement offi cer, you must notify the probation officer within 72 hour .
L0.   You must not own, possess, or have access to a fiream1 , ammunition, destructive device, or dangerous weapon (i.e., anyth ing that
      was designed, or was modified fo r, the spec ific purpose of causing bodil y injury or death to another person such as nunchakus or
      tasers) .
LL.   You must not act or make any agreement with a law enfo rcement agency to act as a confidential human source or info nnant without
      first getting the pem1ission of the court.
12.   If the probation officer detem1ines that yo u pose a ris k to another person (including an organization), the probation officer may
      require yo u to notify the person about the risk and yo u must compl y with that instruction. The pro bation officer may contact the
      person and confirm that yo u have notified the person about the risk.
13.   You must fo llow the instructions of the pro bation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probati on officer has instructed me on the conditions spec ified by the court and has provided me with a written copy of thi s
judgment co ntaining these conditions. Fo r further info rmation regarding these conditions, see Overview of Probation and Supervised
Release Conditions, avai lable at: www.u courts .gov.


Defendant's Signature                                                                                       Date
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                         Sheet 3 D -   Supervi sed Release

                                                                                                      Judgment- Page     5     of        7
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                                              SPECIAL CONDITIONS OF SUPERVISION

l . The defendant shall submit to inpatient or outpatient substance abuse eva luation, counseling, testing, and/o r treatment as deemed
necessary and directed by the U.S. Probation Office.

2. The defendant shall submit her person, residence, place of employment, and vehicle to a search to be conducted by the U.S. Probation
Office at any reasonable time and in any reasonable manner based upon any reasonab le suspicion of evidence of any violation of
conditions of supervised re lease might thereby be disclosed.

3. Regarding the a lready standard condition of employment, the Court spec ifically instructs that while the defendant i on supervised
release, she obtain substantial, full-time , gainful employment, and to the extent that she is not so employed, she must be actively engaged
in looki ng fo r full-time empl oyment. The Court fw1her noted that "actively engaged" will require the defendant to keep a logbook of all of
the defe ndant' s efforts in looking to sec ure employme nt and to make that logbook avai lab le to her U.S . Probation Officer for review upon
request. If the U.S. Probation Officer believes that the efforts do not repre ent the defendant 's s incere attempts and substanti al attempts to
find emp loyment, the Cow1 requests that the U.S. Probation Officer immediate ly bring thi s inform ation to the Co urt's attention and/or if
any of the information in the logbook is determined to be inacc urate that the Court be notified as well.
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                         Sheet 5 - Criminal Moneta1y Penalti es

                                                                                                            Judgment -   Page     6      or       7
 DEFENDANT:                           BRYANNA ALMANZA
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                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                    JVT A Assessment'~                Fine                       Restitution
 TOTALS              $ 100.00                      $ -0-                             $ 1,400.00                 $ -0-


D The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (A O 245C) wi ll be entered
     after such determination.

D The defendant must make restitution (including co mmunity re titution) to the fo llowing payees in the amount li sted below.
     [f the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless spec ified otherwi se in
     the priority order or percentage payment co lumn below. However, pursuant to 18 U .S. C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                   Total Loss**                         Restitution Ordered                       Priority or Percentage




 TOTALS                                  $                                       $

D Restitution amo unt ordered pursuant to plea agreement $
D The defendant must pay interest on restitution and a fine of more than $2 ,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 l 2(t). All of the payment options on Sheet 6 may be subj ect
     to penalties fo r delinquency and default, pursuant to 18 U.S.C. § 36 l 2(g).

X    The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:

     X    the interest requirement is wa ived for the             X   fine   D restitution.
     D    the interest requirement for the           Dfine            D
                                                                 restitution is modified as fo llows:
* Justice fo r Victims of Trafficking Act of20 15 , Pub . L. o. 114-22.
** Findings fo r the total amo unt of losses are required under Chapters 109A, 1 10, 1 I OA, and I I 3A of T itl e 18 fo r offenses committed on or
after September 13, I 994 , but before April 23 , I 996.
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                         Sheet 6 - Schedu le of Payments

                                                                                                                                 Judgment -    Page       7       of           7
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  CASE NUMBER:                   5: l 6CR500 12-002

                                                               SCHEDULE OF PAYMENTS

  Havi ng assessed the defendant 's abi lity to pay, payment of the total crimina l mo netary penalties is due as fo ll ows:

  A     X     Lump sum payment of$                1,500.00                 due immediately, balance due

              0      not later than                                             , or
              X      in accordance with        0      C,      0      D,     0       E, or    X F below;or

  B     0 Payment to begin immediately (may be co mbined with D e, 0 D, or 0 F below); or
  C     0 Payment in equal                 (e.g.. weekly . monthly, quarterly) insta ll ments of $                                                      over a period of
                                (e. g. , months or y ears) , to commence                            (e.g.. 30 or 60 days) after the date of this judgment; or

  D     0 Payment in equal                                  (e.g.. weekly . monthly, quarterly) installments of $                                       over a period of
                                (e.g.. months or years), to commence                                (e.g .. 30 or 60 days) after release fro m imprisonment to a
              term of supervi sion; or

  E     0 Payment during the term of supervised release will commence within                       (e. g., 30 or 60 days) after release fro m
              imprisonment. The court will set the pay ment plan based on an assess ment of the defendant's abili ty to pay at that tim e; or

  F     X     Spec ial instructions regard ing the paym ent of criminal monetary pena lties:
              TI1e fi nancial penalti es sha ll be due and payable immed iately. If not pa id immed iately, any unpaid financial penalty shall be paid by the defendant during her term
              of im prison ment al the rate of up to 50% of the defendant' s ava il ab le funds, in accordance with the Inm ate Financial Responsibili ty Program. During res identi al
              reentry placemen t, payments wi ll be 10% of the defendant 's gross month ly income. The payment of any remai ning ba lance shall become a condition of supervised
              release and shall be pa id in monthly payments of $50.00 or I0% of the defendant's net monthl y household income, wh ichever is greater, with the ent ire balance to
              be paid in full no later than one month prior to the end of the period of uperv ised release.

  Unless the court has express ly ordered otherw ise, if this j udgment impo es imprisonment, payment of criminal monetary pena lties is due
  during the period of imprisonment. All criminal monetary pena lties, except those pay ments made through the Federa l Bureau of Pri sons'
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  T he defendant shall receive credit fo r all payments previously made toward any criminal monetary penalties imposed.



  0     Jo int and Severa l

        Defendant and Co-Defendant Names and Case N umbers (inc/11di11g def enda11111 11mber), Total Am ount, Joint and Severa l Am ount,
        and correspond ing payee, if appropriate.




  0     T he defendant shall pay the cost of prosecution.

  0     T he defe nda nt sha ll pay the fo llowing court cost(s):

  0     T he defendant ha ll fo rfe it the defendant 's interest in the fo llowing property to the United States:

        Payments shall be applied in the fo llowing order: ( 1) assessment, (2) resti tution princ ipal, (3) resti tution interest, (4) fi ne principal, (5)
        fin e interest, (6) commun ity restitution, (7) JVT A assessment, (8) pena lties, and (9) costs, including cost of prosec uti on and court costs.
